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                          UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF LOUISIANA

                                  SHREVEPORT DIVISION


UNITED STATES OF AMERICA                       *      CRIMINAL NO. _________________
                                                                    5:17-cr-00221
                                               *
                                               *
VERSUS                                         *      8 U.S.C. § 1324(a)(1)(A)(iv)
                                               *
                                               *                     HICKS
                                                      DISTRICT JUDGE ______________
HERLIN JEOVANNI PORTILLO-GOMEZ                 *      MAGISTRATE JUDGE HORNSBY

                                  BILL OF INFORMATION

THE UNITED STATES ATTORNEY CHARGES:

                                        COUNT 1
                               Encouraging Illegal Entry
                              [8 U.S.C. § 1324(a)(1)(A)(iv)]

       Beginning on or about November 2016 and continuing through on or about August

2017, in the Western District of Louisiana and elsewhere, the defendant, HERLIN

JEOVANNI PORTILLO-GOMEZ, did encourage and induce aliens, namely, F.P.F. and

H.P.G., to come to, enter and reside in the United States, knowing and in reckless

disregard of the fact that such coming to, entry, and residence in the United States was

in violation of law, in violation of Title 8, United States Code, Section 1324(a)(1)(A)(iv).

[8 U.S.C. § 1324(a)(1)(A)(iv)].

                                          ALEXANDER C. VAN HOOK
                                          Acting United States Attorney

                                          /s/ Tiffany E. Fields_______________
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